            Case 2:22-cv-01196-CFK Document 6 Filed 04/12/22 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ZAKIAH CHANTE FREEMAN                           :
 ADMINISTRATRIX OF THE ESTATE                    :
 OF ZAFIQ A. FREEMAN                             :
                                                 :           CIVIL ACTION
                                                 :
                       v.                        :            No. 22-1196
                                                 :
 THE GEO GROUP, INC., ET. AL.                    :
                                                 :
                                                 :

  GOOD FAITH STATEMENT OF RESIDENCY OF DEFENDANTS, GEO REENTRY
            SERVICES, LLC AND GEO SECURE SERVICES, LLC.

       Defendants, GEO Reentry Services, LLC and GEO Secure Services, LLC, by and

through their attorneys, Robert M. DiOrio and Matthew H. Fry, hereby set forth this Good Faith

Statement of Residency as follows:


       1.      Defendant, GEO Reentry Services, LLC has two members, GEO Operations, Inc.

and GEO Corrections Holdings, Inc.

       2.      Member GEO Operations, Inc. is a Florida Corporation with a principal place of

business in Boca Raton, Florida.

       3.      Member GEO Corrections Holdings, Inc. is a Florida Corporation with a principal

place of business in Boca Raton, Florida.

       4.      Defendant, GEO Secure Services, LLC has two members, GEO Operations, Inc.

and GEO Corrections Holdings, Inc.

       5.      Member GEO Operations, Inc. is a Florida Corporation with a principal place of

business in Boca Raton, Florida.
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       6.      Member GEO Corrections Holdings, Inc. is a Florida Corporation with a principal

place of business in Boca Raton, Florida.

       7.      Thus, both Defendants GEO Reentry Services, LLC and GEO Secure Services,

LLC have the same members, and none are citizens of Pennsylvania, but rather are incorporated

and have principal places of business in the State of Florida.


                                                      Respectfully submitted:

                                                      DiORIO & SERENI, LLP

Date: April 12, 2022                          BY:     /s/ Robert M. DiOrio
                                                      ROBERT M. DIORIO, ESQ.
                                                      Attorney ID No. 17838

                                                       /s/ Matthew H. Fry
                                                      MATTHEW H. FRY, ESQ.
                                                      Attorney ID No. 83131
                                                      21 West Front Street
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                                                      (610) 891-0652 (facsimile)
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                                                   :            CIVIL ACTION
                                                   :
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                                                   :
 THE GEO GROUP, INC., ET. AL.                      :
                                                   :
                                                   :


                                CERTIFICATE OF SERVICE

       We, Robert M. DiOrio and Matthew H. Fry, attorneys for Defendants, hereby certify that

a true and correct copy of the foregoing Good Faith Statement of Residency was filed

electronically via the Court’s Electronic system on the date below and is available for viewing

and download by all counsel of record.


                                                       Respectfully submitted:
                                                       DiORIO & SERENI, LLP

Date: April 12, 2022                         BY:       /s/ Robert M. DiOrio
                                                       ROBERT M. DIORIO, ESQ.
                                                       Attorney ID No. 17838

                                                        /s/ Matthew H. Fry
                                                       MATTHEW H. FRY, ESQ.
                                                       Attorney ID No. 83131
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